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Dated: August 24, 2016
The following is SO ORDERED:


                                                   ________________________________________
                                                               David S. Kennedy
                                                   UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


In re:

DONAL MARTIN McDONAGH and
MICHELE RAWLS McDONAGH                               Case No. 12-27642 DSK

               Debtor.                               Chapter 13


               CONSENT ORDER CONDITIONALLY DENYING MOTION
                   FOR RELIEF FROM THE AUTOMATIC STAY


         This cause came before the Court on the Motion for Relief From the Automatic Stay by

WestVue NPL Trust (“WestVue") (Doc. 121), and it appearing to the Court, that by consent of

the parties, the Motion may be conditionally denied subject to the terms of this Order.

         IT IS THEREFORE ORDERED that by consent the Motion for Relief From the

Automatic Stay by WestVue is conditionally denied based on the requirement that the Debtor

resume his ongoing direct home mortgage payments to WestVue with the August 31, 2016

installment and that in addition, the Debtor make an additional direct payment of $4,000.00 per
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 month to be applied to post-petition arrearage that has accrued under the Debtor’s home

mortgage loan.

       IT IS FURTHER ORDERED that in the event the Debtor fails to make his regular

mortgage and home mortgage arrearage payment within 10 days of the due date, then WestVue

may provide a notice of default by mailing it to the Debtor at 2416 Sanders Ridge, Germantown,

TN 38138, with a copy of the notice to be mailed and emailed to the Debtor’s attorney, J.D.

Gentry,    at    5100    Poplar   Avenue,    Suite   2008,    Memphis,     TN        38137,    and

jdgentry@GAMattorneys.com and to the Chapter 13 Trustee, George W. Stevenson, at 5350

Poplar Avenue, Suite 500, Memphis, TN 38119, and ch13gws@gmail.com; if the payment

default is not cured by the Debtor within 15 days of the date the notice of default is mailed and

emailed, then WestVue may proceed with the entry of an order granting WestVue relief from the

automatic stay provisions of 11 U.S.C. § 362 to allow WestVue to proceed with foreclosure of

the real property located at 2416 Sanders Ridge, Germantown, TN 38138 pursuant to state law.

       IT IS FURTHER ORDERED that WestVue may review the payment arrangements with the

Debtor six months after the date of this order, and if voluntary arrangements are not reached for a

further extension terms, then WestVue may reset this Motion for Relief From the Automatic Stay

by contacting the clerk of the Court.

APPROVED BY:

/s/ Douglas M. Alrutz
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/s/ James D. Gentry (by DMA with email permission)
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      /s/ George W. Stevenson

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Chapter 13 Trustee


cc:      Debtor
         Debtor’s Attorney
         Chapter 13 Trustee
         Matrix of Creditors and Interested Parties

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